         Case 1-18-45085-cec            Doc 35     Filed 05/23/19         Entered 05/23/19 14:26:24




                                    UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF NEW YORK



In re: GLUCK, HELEN H.                                   §         Case No. 18-45085-CEC
                                                         §
                                                         §
                                                         §
                       Debtor(s)


                                   NOTICE OF TRUSTEE’S FINAL REPORT AND
                                     APPLICATIONS FOR COMPENSATION
                                       AND DEADLINE TO OBJECT (NFR)

          Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that Lori Lapin Jones,
trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s professionals have
filed final fee applications, which are summarized in the attached Summary of Trustee’s Final Report and
Applications for Compensation.
        The complete Final Report and all applications for compensation are available for inspection at the
Office of the Clerk, at the following address:

                                   U.S. Bankruptcy Court, Eastern District of N.Y.
                                         Conrad B. Duberstein Courthouse
                                      271-C Cadman Plaza East - Suite 1595
                                            Brooklyn, NY 11201-1800

Date Mailed: 04/30/2019                                      By:: /s/ Lori Lapin Jones, Trustee
                                                                                      Trustee
Lori Lapin Jones
98 Cutter Mill Road,
Suite 201 North
Great Neck, NY 11021
(516) 466-4110




UST Form 101-7-NFR (10/1/2010)
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                                      UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF NEW YORK
                                              BROOKLYN DIVISION

In re:GLUCK, HELEN H.                                       §      Case No. 18-45085-CEC
                                                            §
                                                            §
                                                            §
                         Debtor(s)


                                     SUMMARY OF TRUSTEE’S FINAL REPORT
                                     AND APPLICATIONS FOR COMPENSATION

                  The Final Report shows receipts of :                             $                          5,000.00
                  and approved disbursements of:                                   $                              0.00
                  leaving a balance on hand of1:                                   $                          5,000.00

              Claims of secured creditors will be paid as follows:

  Claim       Claimant           Claim Asserted        Allowed Amount of         Interim Payments to             Proposed
  No.                                                             Claim                        Date               Payment

                                                           None

                                                Total to be paid to secured creditors:          $                      0.00
                                                Remaining balance:                              $                  5,000.00

              Applications for chapter 7 fees and administrative expenses have been filed as follows:
  Reason/Applicant                                                              Total           Interim          Proposed
                                                                            Requested       Payments to           Payment
                                                                                                  Date
  Trustee, Fees - Lori Lapin Jones                                               377.18              0.00           377.18
  Trustee, Expenses - Lori Lapin Jones                                            16.10              0.00            16.10

                  Total to be paid for chapter 7 administrative expenses:                       $                    393.28
                  Remaining balance:                                                            $                  4,606.72




          1
          The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
    earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
    receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
    account of the disbursement of the additional interest.

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             Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                   Total              Interim       Proposed
                                                                     Requested          Payments to   Payment
                                                                                        Date

                                                       None

                  Total to be paid for prior chapter administrative expenses:               $                  0.00
                  Remaining balance:                                                        $              4,606.72

               In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured)
      creditors.
               Allowed priority claims are:
  Claim      Claimant                             Allowed Amount         Interim Payments                Proposed
  No.                                                    of Claim                  to Date                Payment

                                                       None

                                                Total to be paid for priority claims:       $                  0.00
                                                Remaining balance:                          $              4,606.72

              The actual distribution to wage claimants included above, if any, will be the proposed
      payment less applicable withholding taxes (which will be remitted to the appropriate taxing
      authorities).
              Timely claims of general (unsecured) creditors totaling $1,093.47 have been allowed and will
      be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 100.0 percent, plus interest (if
      applicable).
             Timely allowed general (unsecured) claims are as follows:
  Claim      Claimant                             Allowed Amount         Interim Payments                Proposed
  No.                                                    of Claim                  to Date                Payment
  1          Capital One Bank (USA), N.A.                 1,093.47                       0.00             1,093.47
             by American InfoSource as
             agent

                     Total to be paid for timely general unsecured claims:                  $              1,093.47
                     Remaining balance:                                                     $              3,513.25

              Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will
      be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
      claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
      interest (if applicable).
             Tardily filed general (unsecured) claims are as follows:




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  Claim     Claimant                             Allowed Amount        Interim Payments               Proposed
  No.                                                   of Claim                 to Date               Payment

                                                      None

                   Total to be paid for tardily filed general unsecured claims:        $                    0.00
                   Remaining balance:                                                  $                3,513.25

             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
    ordered subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only
    after all allowed administrative, priority and general (unsecured) claims have been paid in full. The
    dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if
    applicable).
             Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
    ordered subordinated by the Court are as follows:

  Claim     Claimant                             Allowed Amount        Interim Payments               Proposed
  No.                                                   of Claim                 to Date               Payment

                                                      None

                                            Total to be paid for subordinated claims: $                     0.00
                                            Remaining balance:                        $                 3,513.25

            To the extent funds remain after payment in full of all allowed claims, interest will be paid at
    the legal rate of 2.46% pursuant to 11 U.S.C. § 726(a)(5). Funds available for interest are $21.96. The
    amounts proposed for payment to each claimant, listed above, shall be increased to include the
    applicable interest.
           The amount of surplus returned to the debtor after payment of all claims and interest is
    $3,491.29.




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                                               Prepared By: /s/ Lori Lapin Jones, Trustee
                                                                               Trustee
    Lori Lapin Jones
    98 Cutter Mill Road,
    Suite 201 North
    Great Neck, NY 11021
    (516) 466-4110




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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